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                    1
                    2
                    3       Attorneys for Plaintiffs

                    4
                    5                                  UNITED STATES DISTRICT COURT

                    6                                   MIDDLE DISTRICT OF FLORIDA

                    7
                            Adedapo Abiodun and Heyden Petroleum,                Case No.:
                    8       Ltd.
                                                                                 VERIFIED ADMIRALTY AND
                    9                               Plaintiffs,                  MARITIME COMPLAINT {In
                            v.                                                   Personam and Rem) FOR DAMAGES
                    10
                            Smith Maritime Inc.; Marcon                              (1)   Breach of Written Contract;
                    11      International, Inc.; Tug Elsbeth II in rem;              (2)   Fraud;
                            and DOES 1 through 20,
                    12                                                               (3)   Breach of Oral Contract;
                                                    Defendants.                      (4)   Breach of Fiduciary Duty;
                    13                                                               (5)   Negligence.

                    14                                                           DEMAND FOR JURY TRIAL

                    15               Plaintiffs Adedapo Abiodun ("Plaintiff Adedapo") and Heyden Petroleum, Ltd.

                    16      ("Plaintiff Heyden") (collectively "Plaintiffs") allege as follows:

                    17                                      JURISDICTION AND VENUE

                    18      1) This action seeks recovery for the breach of a maritime contract, and this Court

                    19           therefore has jurisdiction over all of the claims asserted herein pursuant to 28 U.S.C. §

                    20           1333. This is also an admiralty and maritime claim within the meaning of Rule 9(h) of

                    21           the Federal Rules of Civil Procedure.

                    22      2) Jurisdiction also lies under 28 U.S.C. § 1332 as complete diversity of citizenship exists

                    23           between Plaintiffs and defendants.

                    24      3) Plaintiff Adedapo is, and at all relevant times was, a citizen of Nigeria and C.E.O. and

                    25           managing director of Plaintiff Heyden, an oil trading company incorporated in Nigeria

                    26           and with a principal place of business in Lagos, Nigeria.

                    27      4) Defendant Smith Maritime Inc. ("Smith Maritime") is a Florida corporation with its

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                                 principal place of business in Jacksonville, Florida.


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                    1
                            5) Defendant Marcon International, Inc. ("Marcon International") is a Washington
                    2
                               corporation with its principal place of business in Coupeville, Washington.
                    3
                            6) The oceangoing tug Elsbeth II is a US Flag ocean going tug of 139 gross tons and was
                    4
                               at all material times owned and operated by defendant Smith Maritime. The Elsbeth II
                    5
                               was contracted through Smith Maritime to tow the barge M - 300 from Tampa, Florida
                    6
                               to offshore Lagos, Nigeria. The Elsbeth II is presently located within the jurisdiction of
                    7
                               this court or will be during the pendency of this action.
                    8
                            7) The total amount in controversy exceeds $75,000.00 exclusive of interest, attorneys'
                    9
                               fees and court costs.
                    10
                            8) Plaintiffs are ignorant of the true names and capacities of defendants sued as Does 1
                    11
                               through 20, inclusive, and therefore sue those defendants by such fictitious names.
                    12
                               Plaintiffs will amend this Complaint to allege their true names and capacities when
                    13
                               ascertained.
                    14
                            9) Venue is proper in this Court because Smith Maritime is a corporate citizen of the State
                    15
                               of Florida, its principal place of business is to be found within the Middle District of
                    16
                               Florida, the International Ocean Towage Agreement that is the subject matter of this
                    17
                               lawsuit ("Towcon") includes a venue provision designating Jacksonville, Florida as the
                    18
                               venue, the tug Elsbeth II is presently or will be within the District, and because a
                    19
                               substantial part of the events or omissions giving rise to the claim occurred in this
                    20
                               District. A copy of the Towcon is attached hereto as Exhibit "1."
                    21
                            10) As set forth more fully below, the causes of action arose on or about September 25,
                    22
                               2009 when defendants Smith Maritime and the tug Elsbeth II breached their contract
                    23
                               and abandoned the barge and when Marcon International transferred funds it held in
                    24
                               trust for Plaintiffs without authorization.
                    25
                            11) In addition, on or about May 24, 2010, Plaintiffs and Smith Maritime entered into a
                    26
                               tolling agreement to toll the 1 year contractual limitations period for claims arising
                    27
                               under the Towcon between Plaintiffs and Smith Maritime as set forth in Part II,
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                               Paragraph 24 of the Towcon. Pursuant to the tolling agreement, Smith Maritime agreed

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                   1
                              to provide 30 days notice of termination of the tolling agreement. On or about August
                   2
                               17, 2010, Smith Maritime terminated the tolling agreement. As a result of the tolling
                   3
                               agreement, the one year contractual limitation period was tolled for a period of 84 days
                   4
                               (May 24-August 17, 2010).
                   5
                           12) This action is timely filed.
                   6
                                                              GENERAL ALLEGATIONS
                   7
                           13) Plaintiffs incorporate by reference herein each and every allegation contained in
                   8
                              paragraphs 1 through 12 above.
                   9
                           14) Marcon International acts as a broker for the sale of vessels, barges and other marine
                   10
                               equipment between individuals and companies worldwide. Marcon International also
                   11
                               acts as a broker for the towing services of vessels, barges and other marine equipment.
                   12
                           15) In addition to acting as a broker, Marcon International acted as an escrow agent
                   13
                               ("Escrow Agent"), on behalf of Plaintiffs with respect to the transactions described
                   14
                              below. As an Escrow Agent, Marcon International held certain funds of Plaintiffs on
                   15
                               deposit in a trust account. Marcon International was required to hold the funds, in trust
                   16
                              for Plaintiffs, until the seller or provider of services had fulfilled its obligations to
                   17
                              Plaintiffs and Marcon International received specific written instructions to release the
                   18
                              funds to the seller or provider of services.
                   19
                           16) Smith Maritime is a tugboat company that provides tug and towing services of marine
                   20
                              vessels, barges and other marine equipment within the United States and to other
                   21
                              countries.
                   22
                           17) During the second quarter of 2009, Marcon International brokered, on behalf of
                   23
                              Plaintiffs as purchasers, the purchase of a double hulled, ocean tank barge ("Barge").
                   24
                           18) Marcon International also secured, on behalf of Plaintiffs, the tug and towing services
                   25
                              from Smith Maritime to tow the Barge from Tampa, Florida to Lagos, Nigeria.
                   26
                           19) On or about June 3, 2009, Plaintiffs and Smith Maritime entered into a towage contract
                   27
                              entitled "International Ocean Towage Agreement" ("Towcon").
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                    1
                            20) Pursuant to Part I, "Boxes" 22 to 25 of the Towcon, Smith Maritime agreed to tow the
                    2
                               Barge from "Tampa, Fl USA" and deliver the Barge to "Offshore Lagos, Nigeria."
                    3
                               Pursuant to Part I, "Box" 32 of the Towcon, Plaintiffs agreed to pay Smith Maritime a
                    4
                               total sum of "$1,075,000.00" (one million seventy five thousand dollars and no cents)
                    5
                               ("Towcon Price") for the tow. Pursuant to Part I, Box 32 of the Towcon, Plaintiffs were
                    6
                               required to make payments for the tow based on the following schedule:
                    7
                               a) "10% due upon signing contract";
                    8
                               b) "30% on arrival Tampa, Florida";
                    9
                               c) "30% due after passing 45 degrees west longitude";
                    10
                               d) "Balance due upon delivery [of the Barge] Offshore Lagos".
                    11
                            21) Pursuant to Part II, Paragraph 2(c) of the Towcon, the amount set forth above was not
                    12
                               earned until the date on which the "payment" was "due."
                    13
                            22) In this case, the final payment of 30% [$322,500.00 (three hundred twenty two thousand
                    14
                               five hundred dollars)] was therefore not "earned" until the barge was actually delivered
                    15
                               to Plaintiffs or their authorized representatives at "Offshore Lagos, Nigeria." Paragraph
                    16
                               8(a) of the Towcon states "[t]he Tow shall be accepted forthwith and taken over by the
                    17
                               Hirer or his duly authorized representative at the place of destination stated in Box 25
                    18
                                [Offshore Lagos, Nigeria]."
                    19
                            23) Additionally, pursuant to the Towcon, Plaintiffs set the actual place of destination at
                    20
                               Offshore Lagos, Nigeria. Part II, Paragraph 8(b) of the Towcon states "[t]he precise
                    21
                               place of destination shall always be safe and accessible for The Tug and Tow to enter, to
                    22
                               operate in, and for the Tug to leave and shall be a place where such Tug is permitted to
                    23
                               redeliver the Tow in accordance with any local or other rules, requirements or
                    24
                               regulations and shall always be subject to the approval of the tugowner, which approval
                    25
                               shall not be unreasonably withheld."
                    26
                            24) Pursuant to Part I, Box 36 of the Towcon, the cost of the tug's bunker fuel was included
                    27
                               in the lump price of tow. The Towcon also provided, however, that if the "average price
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                               per metric tonne of bunkers actually paid by the Tugowner differs from the amounts

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                    1
                               specified in Box 36 then the Hirer or the Tugowner, as the case may be, shall pay to the
                    2
                               other the difference per metric tonne for every metric tonne consumed during the
                    3
                               voyage. The average price specified above shall be the average of the prices per
                    4
                               metric tonne actually paid by the Tug owner on the basis of quantities purchased at
                    5
                               the last bunkering port prior to the voyage, any bunkering port during the voyage,
                    6
                               and the first bunkering port after completion of the voyage." [Emphasis added]. Part
                    7
                               I, Box 36 of the Towcon set the fuel cap charge at $1.85 per U.S. gallons.
                    8
                            25) At all relevant times, Marcon International acted as the broker on the Towcon and
                    9
                               undertook to hold certain funds in trust related to the purchase and tow of the Barge.
                    10
                               Marcon International created an escrow account ("Escrow Account") for Plaintiffs'
                    11
                               benefit to facilitate payments from Plaintiffs to Smith Maritime for work performed
                    12
                               pursuant to the Towcon.
                    13
                            26) To fund the Escrow Account, Plaintiffs on various dates transferred money to Marcon
                    14
                               International for deposit to the Escrow Account and eventual payment to Smith
                    15
                               Maritime as the payments came due. Marcon International and Plaintiffs agreed or
                    16
                               understood that Marcon International would remit payment from the Escrow Account to
                    17
                               Smith Maritime at the schedule agreed upon in the Towcon, but only after being given
                    18
                               Plaintiffs' express written permission to do so.
                    19
                            27) Pursuant to paragraph 32 of the Towcon, after the signing of the Towcon, and only after
                    20
                               Plaintiffs gave express permission to do so, Marcon International paid to Smith
                    21
                               Maritime from the Escrow Account, 10% of the Towcon Price.
                    22
                            28) Pursuant to paragraph 32 of the Towcon, after Smith Maritime's tug Elsbeth II arrived
                    23
                               at Tampa, Florida, on or about June 2009, and only after Plaintiffs gave express
                    24
                               permission to do so, Marcon International paid to Smith Maritime from the Escrow
                    25
                               Account, 30% of the Towcon Price.
                    26
                            29) Pursuant to paragraph 32 of the Towcon, after Smith Maritime's tug Elsbeth II towed
                    27
                               the Barge past 45 degrees west longitude, and only after Plaintiffs gave express
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                    1
                               permission to do so, Marcon International paid to Smith Maritime from the Escrow
                    2
                               Account, 30% of the Towcon Price.
                    3
                            30) On or about September 15, 2009, and before completing the voyage, Smith Maritime
                    4
                               demanded payment of an additional $76,991.00 in fuel cap charges. Under protest that
                    5
                               the entire fuel cap charges were excessive or fraudulent, Plaintiffs authorized Marcon
                    6
                               International to pay Smith Maritime an additional $50,000 from the Escrow Account.
                    7
                            31) On or about September 15, 2009, and before completing the voyage, Smith Maritime
                    8
                               wrote to Marcon and Plaintiffs refusing to complete the voyage unless and until pre-
                    9
                               payment was made of both the final tow payment and payment of a fuel surcharge,
                    10
                               neither of which had been earned pursuant to the terms of the towcon. Smith Maritime
                    11
                               wrote:
                    12                     Hi Jeff -We are getting close to final destination and hand-off. We are due a final
                                           payment lump sum voyage for the 4th payment and invoice for fuel cap
                    13                     reimbursement. See attached invoices. Understand vou are out of funds to
                                           send to us to complete this voyage. Please understand that we are not willing nor
                    14                     will proceed past Togo border unless full payment is made. Hirer must make
                                           arrangements for full payment to our account or via your account as soon as
                    15                     possible. Attached are the invoices due and we must establish payment schedule
                                           before we proceed much longer. If we are in Togo waters and have not recieved full
                                           payment we will divert and remain on stand by demurrage until full payment is
                    16                     made.
                    17
                    18      32) Plaintiffs protested that "The terms were for them to deliver to offshore Lagos and
                               then get paid." Smith Maritime responded that if they did not get pre-payment they
                    19
                               would "slow steam on demurrage until funds are received adding additional costs to
                    20
                               Hirer."
                    21
                            33) On September 17, 2009 Smith Maritime wrote again stating:
                    22
                    23                     Good Morning - Attached is the morning report. Weather is good, current favorable
                                           but no fish. Tug is 215 nm from Lome Togo and 350 nm from Lagos - ETA Saturday
                    24                     Sept 19 1200 GMT.
                    25                     NOTE: Tug will not pass Lome Togo or enter Nigerian waters until all funds due , as
                                           invoiced, are deposited and confirmed in MARCON 's account. Tug will arrive
                    26                     offshore Lome Friday morning (tomorrow) and has been ordered to slow steam on
                                           demurrage until further notice. Any other port costs or expenses due to non
                    27                     payment, will be to hirers account.

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                                          Regards,
                                          Caprice Welton
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                    1                       Vessel Operations
                                            Smith Maritime Inc.
                    2
                            34) Plaintiffs responded on September 17, 2009 reminding Smith Maritime that "you are to
                    3
                               deliver barge to us offshore Lagos and only then your payment will be effected when
                    4
                               barge is confirmed to have arrived offshore Lagos , your balance of $322,500 will be
                    5
                               paid on confirmation of safe arrival of barge and upon delivery offshore Lagos !! See
                    6
                               item 32 (e) in tow con. Any demurrage incurred otherwise will be to your account!!"
                    7
                    8       35) As of September 1, 2009, Marcon International was holding in its trust account for

                    9          Heyden Petroleum, the sum of $321,521.80.

                    10      36) On September 18, 2009 Plaintiffs were informed by Marcon International that Smith

                    11         Maritime had anchored the barge in Lome (Togo) and refused to make the contracted

                    12         delivery until all funds to cover both the final lump sum payment and all as then
                               unearned fuel surcharges were deposited in Marcon International's trust account held
                    13
                               for Heyden Petroleum. Smith Maritime also refused to make delivery of the barge to
                    14
                               the Heyden Petroleum dock.
                    15
                    16      37) The funds demanded by Smith Maritime were not earned or owed until the barge was
                               delivered.
                    17
                    18      38) As of September 24, 2009, Plaintiffs had funds on account in trust with Marcon
                               International of $410,536.80.
                    19
                            39) On September 25, 2009, Plaintiffs received notice from Marcon that the barge had been
                    20
                               abandoned by Smith Maritime as follows:
                    21
                                            Barge is anchored at 06 18.5 N X 003 19.7 E. It is in 80 ft of water
                    22                      with 5 shots chain, set and holding good. Crew put 2 battery powered
                                            anchor light on. Bridle is tied off to stbd side deck, eye is right at
                    23                      water.
                    24                      Barge paperwork is in plastic taped to gen set. Instructions for gen set
                                            are taped to top of water jug in generator room. Pick up crew will need
                    25                      two hot 12 volt batteries for 24 volt start. Anchor windless set for
                                            raising anchor. Gen set leaks water. Fresh water is in jugs to resupply
                    26                      gen set while raising anchor.

                    27                      Reported by Capt John, submitted by Caprice @ Smith Maritime

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                    1
                            40) Although the barge had been abandoned by Smith Maritime and the tug Elsbeth II,
                    2
                               Marcon International paid from the Escrow Account to Smith Maritime, the remaining
                    3
                               30% of the Towcon Price. This payment was made without any authorization from
                    4
                               Plaintiffs and despite the fact that the tow contract had not been fulfilled by Smith
                    5
                               Maritime.
                    6
                            41) Even after receiving the final payment, Smith Maritime failed to take further action to
                    7
                               safeguard and deliver the Barge to Plaintiffs pursuant to the contract terms. In fact,
                    8
                               Smith Maritime negligently abandoned the Barge, leaving the Barge without any crew
                    9
                               to maintain the Barge or safeguard or protect the Barge from theft, vandalism, other
                    10
                               intentional, criminal or negligent acts, and from other conditions, including weather and
                    11
                               the sea.
                    12
                            42) As a consequence of Smith Maritime's negligence, the Barge suffered damage,
                    13
                               including theft of its equipment.
                    14
                            43) As a direct and proximate result of the above described breaches of contract, breaches of
                    15
                               fiduciary duty, fraud, and negligence, Plaintiffs have been damaged in an amount in
                    16
                               excess of $1,000,000.
                    17
                    18                                  FIRST CAUSE OF ACTION
                                           rSmith Maritime. Tug Elsbeth II, in rem, and DOES 1-201
                    19                                  [Breach of Written Contractl
                    20      44) Plaintiffs incorporate by reference herein each and every allegation contained in
                    21         paragraphs 1 through 43 above.
                    22      45) Plaintiffs and Smith Maritime entered into a written contract, the Towcon.
                    23      46) Plaintiffs fully performed each and every obligation, condition, covenant, and promise
                    24         required under its contract with Smith Maritime.
                    25      47) All of the conditions required by the Towcon for Smith Maritime's performance had
                    26         occurred.
                    27      48) Smith Maritime breached the Towcon as described herein, by among other things,
ABIODUN.SMARITIME   2 8        demanding reimbursements for excess fuel expenditures before the completion of the

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                    1
                                voyage, by overcharging on fuel cap charges, by failing to deliver the Barge to Plaintiffs
                    2
                                or their authorizes representatives at Offshore Lagos, Nigeria,
                    3
                            49) As a result of Smith Maritime's breach, Plaintiffs have sustained damages as described
                    4
                                herein and as set out in the prayer below, according to proof.
                    5
                    6                                     SECOND CAUSE OF ACTION
                                                          rSmith Maritime and DOES 1-201
                    7                                                 IFraudl
                    8       50) Plaintiffs incorporate by reference herein each and every allegation contained in
                    9          paragraphs 1 through 49 above.
                    10      51) On or about June 3, 2009, in Jacksonville, Florida, Smith Maritime fraudulently
                    11          represented to Plaintiffs that it would complete the voyage pursuant to the express terms
                    12          of the Towcon including proper delivery and turnover in a professional and
                    13          workmanlike manner and would not demand pre-payments of unearned fees or
                    14          expenses.
                    15      52) The subsequent behavior of defendant Smith Maritime in demanding pre-payments of
                    16          unearned fees and expenses and abandonment of the tow despite receipt of unearned
                    17         payments establishes that defendants never intended to complete the Towcon pursuant
                    18         to its express terms.
                    19      53) At the time they entered into the Towcon, Smith Maritime II knew that each of the
                    20          statements were false.
                    21      54) Smith Maritime intended that Plaintiffs would rely on the false statements.
                    22      55) Plaintiffs relied on the false statements.
                    23      56) As a result of the fraudulent statements and actions of Smith Maritime, Plaintiffs have
                    24          sustained damages as described herein and as set out in the prayer below, according to
                    25         proof.
                    26
                    27
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                   1
                   2                                     THIRD CAUSE OF ACTION
                                                   fBreach of Written and Oral Contractl
                   3                               flVIarcon International and DOES 1-201
                   4     57) Plaintiffs incorporate by reference herein each and every allegation contained in
                   5        paragraphs 1 through 56 above.
                   6     58) Plaintiffs and Marcon International entered into a contract partly oral and party in
                   7        writing pursuant to which Marcon International agreed to act as brokers and Escrow
                   8        Agents for Plaintiffs for the tow of the Barge from Tampa, Florida to Lagos, Nigeria.
                   9     59) The terms of the oral and written contract required Marcon International to hold the
                   10       funds deposited with it for the benefit of Plaintiffs and to not release these funds to third
                   11       parties unless and until it received written authorization from Plaintiffs for the release of
                   12       the funds.
                   13    60) On September 24, 2009 Marcon International was holding in trust for the benefit of
                   14       Plaintiffs the sum of $410,536.80.
                   15    61) Plaintiffs performed all actions required of them pursuant to their oral and written
                   16       agreements with Marcon.
                   17    62) All of the conditions required by the oral contract for Marcon International's
                   18       performance had occurred.
                   19    63) On or about September 25, 2009 Marcon International breached its contractual
                   20       obligations to Plaintiffs by releasing to defendants Smith Maritime and the tug Elsbeth
                   21       II payments of at least $399,491.00.
                   22    64) Plaintiffs did not, and would not have, authorized the payments to Smith Maritime and
                   23       the Tug Elsbeth II in light of the abandonment of the Barge by Smith Maritime and the
                   24       tug Tug Elsbeth II, and the fact that the sums so released had not yet been earned
                   25       pursuant to the terms of the Towcon.
                   26    65) As a result of Marcon International's breach, Plaintiffs have sustained damages in
                   27       excess of $399,491.00.
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                                                      FOURTH CAUSE OF ACTION

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                    1                                   [Breach of Fiduciary Dutvl
                                                   [Marcon International and DOES 1-201
                    2
                          66) Plaintiffs incorporate by reference herein each and every allegation contained in
                    3
                             paragraphs 1 through 65 above.
                    4
                          67) By acting as Plaintiffs' broker on the purchase of the Barge, and for the towing of the
                    5
                             Barge, and by acting as Plaintiffs' Escrow Agent, Marcon International owed a fiduciary
                    6
                             duty to Plaintiffs. Plaintiffs depended on Marcon International to act as its fiduciary.
                    7
                             Macron International agreed to hold Plaintiffs' funds and to not distribute the funds
                    8
                             without authorization from Plaintiffs.
                    9
                          68) Marcon International breached that fiduciary relationship and its fiduciary duty to
                    10
                             Plaintiffs by releasing the final (and as yet unearned) payment for towage and fuel cap
                    11
                             surcharges to Smith Maritime even though Smith Maritime had not performed its
                    12
                             obligations pursuant to the Towcon and did not provide a proper accounting regarding
                    13
                             the fuel surcharges. Plaintiffs never authorized Marcon International to release the
                    14
                             funds.
                    15
                          69) As a result of Marcon International's breach of fiduciary duty, Plaintiffs have sustained
                    16
                             damages as described herein and as set out in the prayer below, according to proof.
                    17
                    18                                 FIFTH CAUSE OF ACTION
                                                   [Marcon International and DOES 1-201
                    19                                          [Negligencel
                    20    70) Plaintiffs incorporate by reference herein each and every allegation contained in
                    21       paragraphs 1 through 69 above.
                    22    71) Marcon International owed a duty to Plaintiffs to safeguard, protect and hold Plaintiffs'
                    23       money in the Escrow Account, until Smith Maritime's tug Elsbeth II delivered the
                    24       Barge to Plaintiffs at Offshore Lagos, Nigeria and until Plaintiffs had given Marcon
                    25       International specific written permission to pay Smith Maritime with money from the
                    26       Escrow Account.
                    27    72) Marcon International also owed a duty to Plaintiffs to safeguard, protect and hold
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                             Plaintiffs' money in the Escrow Account for payment of fuel cap surcharges, if any,

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                    1
                             until a full and proper accounting of such charges was provided by Smith Maritime and
                    2
                             until authorization was given by Plaintiffs to release said funds.
                    3
                          73) Marcon International failed to meet the required standard of conduct when it released
                    4
                             Plaintiffs' money from the Escrow Account, without confirming Smith Maritime's
                    5
                             delivery of the Barge to Plaintiffs pursuant to the terms of the Towcon, without receipt
                    6
                             of a proper accounting and without Plaintiffs' express written permission.
                    7
                          74) Marcon International's conduct was a legal cause of injury to Plaintiffs, as described
                    8
                             herein;
                    9
                          75) As a result of Marcon International's negligence, Plaintiffs have sustained damages as
                    10
                             described herein and as set out in the prayer below, according to proof.
                    11
                                                                     PRAYER
                    12
                                 WHEREFORE, Plaintiffs pray for judgment against Smith Maritime, the tug
                    13
                          Elsbeth II and Marcon International and Does 1 through 20, inclusive, as follows:
                    14           1. That a Warrant of Arrest issue against the Vessel;
                    15           2. That the Vessel be arrested and preserved pursuant to the practice of this Court
                                    in cases involving maritime liens and Preferred Ships Mortgages against vessels
                    16              in navigation, as provided by the Supplemental Admiralty Rules of the Federal
                                    Rules of Civil Procedure and the Rules of this Court;
                    17
                                 3. Refund of the unearned fourth payment under the Towcon of $322,500.00;
                    18
                                 4. Refund of the unearned fuel surcharges of at least $76,991.00;
                    19
                                 5. Refund of unearned brokering and escrow fees by Marcon International;
                    20
                                 6. For damages to the barge and its equipment and for lost profits from the inability
                    21
                                       to use the barge all in excess of $1,000,000.00;
                    22
                                 7. For added costs associated with handling, storage, and movement of the Barge
                    23
                                       according to proof;
                    24
                                 8. Attorneys' fees, costs and expenses;
                    25
                                 9. Prejudgment interest;
                    26
                                 10. Costs of suit herein; and
                    27
                                 11. For such other relief as this Court deems just and proper.
ABIODUN.SMARITIME   2 8
                                 Plaintiffs also hereby demand trial by jury.
                                                                       -12-                                            Case No.
                          VERIFIED COMPLAINT FOR DAMAGES
                    Case 3:10-cv-00859-TJC-JK Document 1 Filed 09/20/10 Page 13 of 20 PageID 13




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                    3     Dated: September 20, 2010

                    4                                                         & KNIGHT LLP
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                                                                  wmotmi J. ^Conner, Eiq.
                    6                                             FloridkW No. 767580
                                                                  50 North Laura Street \
                    7                                             Suite 3900
                                                                  Jacksonville, Florida 32202
                    8                                             Telephone: (904) 353-2000
                                                                  Facsimile: (904)358-1872
                    9                                             Attorneys for Plaintiffs
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                                                           •13-                                   Case No.
                          VERIFIED COMPLAINT FOR DAMAGES
Case 3:10-cv-00859-TJC-JK Document 1 Filed 09/20/10 Page 14 of 20 PageID 14




                                              VERIFICATION

               I, Adedapo Abiodun, hereby state:
   3
   4            1.     i am an officer of Heyden Petroleum, Ltd., a Plaintiff in the instant action,
   5           2.      I have read the contents of the above Complaint on behalf of Heyden
   6    Petroleum, Ltd, and myself, and hereby verify the facts contained therein are true and
   7    correct to the best of my knowledge, information and belief.
   8           3.      I am authorized on behalf of Heyden Petroleum, Ltd. to verify this
   9    Complaint,
   10          1 declare under penalty of perjury under the laws of the State of Florida and the
   11   United States that the forgoing is true and correct and that this verification was executed at
   12   Lagos, Nigeria on September 20, 2010
   13
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               Adedapo Abiodun
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Case 3:10-cv-00859-TJC-JK Document 1 Filed 09/20/10 Page 15 of 20 PageID 15


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         GRCrN COVE SPRINGS, F t 32043                                                                   GRA
         TEL 901284-0503                                                                                 LAGOS, (WERiA AFRICA
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    Case 3:10-cv-00859-TJC-JK Document 1 Filed 09/20/10 Page 17 of 20 PageID 17


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                                                                                                                                                                                                  PART H
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